            Case 1:21-cv-00412-LY Document 37 Filed 10/21/21 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 SYMBOLOGY INNOVATIONS, LLC,
                                                   Civil Action No.: 1:21-cv-00412-LY
             Plaintiff,

       v.

 MICHAELS STORES, INC.,

               Defendant.

                               JOINT MOTION TO DISMISS

       Now come Plaintiff, Symbology Innovations, LLC and Defendant, Michaels Stores, Inc.,

by and through their undersigned counsel, pursuant to Fed. R. Civ. P. 41, and hereby move this

Court to dismiss all claims against Defendant Michaels Stores, Inc. WITH PREJUDICE and all

counterclaims against Plaintiff Symbology Innovations, LLC WITHOUT PREJUDICE, with each

party to bear its own attorneys’ fees and costs. The parties believe that the Renewed Motion to

Dismiss currently pending [D.E. 29] in this matter is now moot.

 Dated: October 21, 2021                           Respectfully submitted,

 Jay Johnson                                       SAND, SEBOLT & WERNOW CO., LPA
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                                                   ATTORNEYS FOR PLAINTIFF
        Case 1:21-cv-00412-LY Document 37 Filed 10/21/21 Page 2 of 2




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                                                 ATTORNEYS FOR DEFENDANT


                              CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a true and correct copy has been electronically

filed using the CM/ECF filing system, which automatically sends email notifications to all

counsel of record and which will permit viewing and downloading of same from the CM/ECF

system on October 21, 2021.

                                          /s/ Andrew S. Curfman
                                          Andrew S. Curfman




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